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KYH/11.13.2024

U.S. Department of Justice

United States Attorney

District of Maryland
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November 14, 2024

Via Email Only
Ryan Burke, Esq.

Re: United States v. Rashidd Keene
Criminal Nos. DKC-24-0181

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement which has
been offered to your client, Rashidd Keene (‘the Defendant”), by the United States Attorney’s
Office for the District of Maryland (“this Office”). If the Defendant accepts this offer, please have
him execute it in the spaces provided below. This offer shall expire on November 30, 2024. The
terms of the agreement are as follows:

Offense of Conviction

i. The Defendant agrees to plead guilty to Count One of the Indictment, which
charges the Defendant with Possession of Firearm and Ammunition by a Prohibited Person, in
violation of 18 U.S.C. § 922(g). The Defendant admits that he is, in fact, guilty of that offense and
will so advise the Court.

Elements of the Offenses
2. The elements of the offense(s) to which the Defendant has agreed to plead guilty,
and which this Office would prove if the case went to trial, are as follows: That on or about the

time alleged in the Indictment, in the District of Maryland:

a. The Defendant knowingly possessed a firearm and ammunition, as those
terms are defined in 18 U.S.C. § 921(a);

b. The Defendant had been convicted of a crime punishable by imprisonment
for a term exceeding one year, his civil rights had not been restored, and he had knowledge of
this status; and

Cc. Both the firearm and ammunition affected interstate commerce.
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The maximum sentence provided by statute for the offense to which the Defendant

is pleading guilty is as follows:

Penalties

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Minimum | Maximum | Supervised | Maximum Special
Count Statute 5 : :
Prison Prison Release Fine Assessment
18 U.S.C. §
1 922(2)(1) N/A 15 years 3 years $250,000 $100
a. Prison: Ifthe Court orders a term of imprisonment, the Bureau of Prisons
has sole discretion to designate the institution at which it will be served.
b. Supervised Release: If the Court orders a term of supervised release, and

the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

é. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664,

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.
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Waiver of Rights

4, The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

a, If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

C. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

I By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
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trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

S, The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and
28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set
forth in Attachment A, which is incorporated by reference herein.

a. This Office and the Defendant further agree that the applicable base offense level
is determined by United States Sentencing Guidelines (“U.S.S.G.”) § 2K2.1. Specifically, the base
offense level is 20 pursuant to U.S.S.G. § 2K2.1(a)(2) due to the Defendant having one prior felony
conviction.

b. The parties also agree that there is a 4-level increase because the Defendant
possessed the firearm and ammunition in connection with another felony offense pursuant to
U.S.S.G. § 2K2.1(b)(6)(B).

c. This Office does not oppose a 2-level reduction in the Defendant’s adjusted offense
level pursuant to U.S.S.G. § 3E1.1(a) based upon the Defendant’s apparent prompt recognition
and affirmative acceptance of personal responsibility for the Defendant’s criminal conduct. This
Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional 1-level decrease
in recognition of the Defendant’s timely notification of the Defendant’s intention to enter a plea
of guilty. This Office may oppose any adjustment for acceptance of responsibility under U.S.S.G.
§ 3E1.1(a), and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if the Defendant:
(i) fails to admit each and every item in the factual stipulation; (ii) denies involvement in the
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offense; (iii) gives conflicting statements about the Defendant’s involvement in the offense; (iv) is
untruthful with the Court, this Office, or the United States Probation Office; (v) obstructs or
attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between the
date of this Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty; or
(viii) violates this Agreement in any way.

c. Therefore, the final offense level will be 21.
7. The parties agree that the Defendant’s criminal history is a level III.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11(c)(1)(C) Plea

9, The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that an upward variant sentence of 60 months’ imprisonment in the custody of the
Bureau of Prisons is the appropriate disposition of this case, taking into consideration the nature
and circumstances of the offense, the Defendant’s criminal history, and all of the other factors set
forth in 18 U.S.C. § 3553(a). This Agreement does not affect the Court’s discretion to impose any
lawful term of supervised release or fine, or to set any lawful conditions of probation or supervised
release. In the event that the Court rejects this Agreement, except under the circumstances noted
below, either party may elect to declare the Agreement null and void. Should the Defendant so
elect, the Defendant will be afforded the opportunity to withdraw his plea pursuant to the
provisions of Federal Rule of Criminal Procedure 11(c)(5). The parties agree that, if the Court
finds that the Defendant engaged in obstructive or unlawful behavior and/or failed to acknowledge
personal responsibility as set forth herein, neither the Court nor the Government will be bound by
the specific sentence contained in this Agreement, and the Defendant will not be able to withdraw
his plea.

Obligations of the Parties

10. At the time of sentencing, this Office and the Defendant will recommend a sentence
of 60 months’ imprisonment. The parties may advocate for any period of supervised release
and/or fine considering any appropriate factors under 18 U.S.C. § 3553(a). This Office reserves
the right to bring to the Court’s attention all information with respect to the Defendant’s
background, character, and conduct that this Office deems relevant to sentencing, including the
conduct that is the subject of any counts of the Indictment. At the time of sentencing, this Office
will move to dismiss any open counts against the Defendant.

Waiver of Appeal

11. In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

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a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.

b. The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release).

c. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Forfeiture

12. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property derived
from, or otherwise involved in, the offenses.

13. Specifically, but without limitation on the Government’s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in the following items that the Defendant agrees constitute
money, property, and/or assets derived from or obtained by the Defendant as a result of, or used
to facilitate the commission of, the Defendant’s illegal activities:

e ablack Palmetto State Armory Halloween-15 5.56 caliber AR-style rifle, with serial
number REAPER2636;

approximately 83 rounds of 5.56 caliber ammunition;

approximately 155 rounds of 7.62x39 caliber ammunition;

approximately 40 rounds of .223 caliber Tula ammunition;

approximately 27 rounds of .45 caliber ammunition; and

approximately 96 rounds of .22 caliber ammunition.

14. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.
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15. | The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

16. | The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement and will not
assist any third party with any challenge or review or any petition for remission of forfeiture.

Defendant’s Conduct Prior to Sentencing and Breach

17. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

18. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)—f the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

19. The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. In the event the Court rejects this
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Rule 11(c)(1)(C) plea agreement, pursuant to Rule 11(c)(5)(C), the Defendant will be informed
that he may withdraw his plea. If he persists in the guilty plea thereafter, the Defendant
understands that the disposition of the case may be less favorable than that contemplated by this
agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding prediction,
promise, or representation as to what guidelines range or sentence the Defendant will receive. The
Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

20. This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together with the Sealed Supplement, constitutes the complete
plea agreement in this case. The Defendant acknowledges that there are no other agreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement and none will be entered into unless in writing,
signed by all parties, and approved by the Court.

If the Defendant fully accepts each and every term and condition of this agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Erek L. Barron
United States Attorney

ssistant U.S. Attorney
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I have read this agreement, including the Sealed Supplement, and carefully reviewed every part
of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

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Date Rashidd Keene, Defendant

I am the Defendant’s attorney. I have carefully reviewed every part of this agreement,
including the Sealed Supplement, with the Defendant. The Defendant advises me that he
understands and accepts its terms. To my knowledge, the Defendant’s decision to enter into this
Agreement is an informed and voluntary one.

A/a /AU

Date

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ATTACHMENT A

STIPULATION OF FACTS
The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

Anne Arundel County and Annapolis City police officers executed a search warrant on 9
Bens Circle, Apt. B, in Anne Arundel County on February 6, 2024. Officers found the Defendant,
Rashidd Keene, in the apartment. They recovered a Palmetto State Armory Halloween-15 5.56
caliber AR-style rifle, with serial number REAPER2636; and approximately 401 rounds of live
ammunition in a bedroom. They also recovered body armor and various drugs packaged for
distribution to include 33 grams of fentanyl. The Defendant admitted he used the bedroom where
the officers recovered the contraband. Officers also found personal property of the Defendant
confirming his access and use of this bedroom.

The firearm meets the definition of a firearm in 18 USC § 921(a) meaning that the firearm
was test fired and found to be capable of expelling a projectile by the action of an explosive. The
ammunition also meets the definition of ammunition pursuant to 18 U.S.C. § 921 meaning that the
ammunition was examined and found to be cartridges or bullets designed for use ina firearm. Both
the firearm and ammunition that the Defendant possessed affected interstate commerce, as they
were manufactured outside of the State of Maryland.

The Defendant agrees he knowingly possessed the firearm and ammunition. Prior to
possessing the firearm and ammunition, the Defendant agrees he had been convicted of a crime
punishable by imprisonment for a term exceeding one year, his civil rights had not been restored,
and he had knowledge of this status when he possessed the firearm.

All the above-described events took place in the District of Maryland.

SO STIPULATED:

